                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                  Plaintiff,                   )
                                               )
          v.                                   )      Case No. 6:18-cr-03042-02-SRB
                                               )
LUCIAN ROBINSON,                               )
                                               )
                  Defendant.                   )

                                               ORDER

          Before the Court is Defendant Lucian Robinson’s pro se filing entitled “Objection to

Exigent and Emergent Motion Court’s Denial Order” (Doc. #244). For a second time, Defendant

asks the Court to reconsider its prior Order denying Defendant’s pro se Exigent and Emergent

Motion for Reduction in Sentence under 18 U.S.C. § 3582 and pro se Motion for Appointment of

Counsel (Doc. #226). The Court construes Defendant’s filing as another motion for

reconsideration. For the same reasons discussed in the Court’s Order denying Defendant’s first-

filed motion for reconsideration (Doc. #328), the instant motion for reconsideration (Doc. #244) is

denied.

          IT IS SO ORDERED.



DATED: August 5, 2020                                 /s/ Stephen R. Bough
                                                      STEPHEN R. BOUGH, JUDGE
                                                      UNITED STATES DISTRICT COURT




               Case 6:18-cr-03042-SRB Document 245 Filed 08/05/20 Page 1 of 1
